            Case 1:22-cv-05570-JMF Document 11 Filed 08/10/22 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                 x
RAMON FONTANEZ Individually, and On              : Case No.: 1:22-cv-05570-JMF
Behalf of All Others Similarly Situated,         :
                                                 :
                               Plaintiff,        :
       vs.                                       :
                                                 : NOTICE OF SETTLEMENT
                                                 :
                                                 :
MIZU, INC.
                                                 :
                                                 :
                               Defendant.
                                                 :
                                                 :
                                                 x


       Plaintiff Ramon Fontanez (“Plaintiff”) hereby notifies the Court that the present case has

settled between Plaintiff and defendant Mizu, Inc. (“Defendant”) (collectively, the “parties”), and

states as follows:

       1.       A settlement agreement is in the process of being finalized between the parties.

Once the settlement agreement is fully executed, and Plaintiff has received the consideration

required, the parties will respectfully request that the case be dismissed and closed.

       2.       The parties respectfully request that the Court stay this action and adjourn all

deadlines and conferences.

DATED: August 10, 2022                        MIZRAHI KROUB LLP


                                                              /s/ Edward Y. Kroub
                                                             EDWARD Y. KROUB
Case 1:22-cv-05570-JMF Document 11 Filed 08/10/22 Page 2 of 2




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